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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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THIS CONSTITUTES NOTICE OF ENTRY

PS REQUIRED BY FRCP RULE 77{d).

UNITED STATES OF AMERICA, et | CASENO. CV 910589 RJK |
al.,
TERGTOSEDE AMENDED ORDER TO
Plaintiffs, RANSFER CERTAIN COUNTER-
CLAIMS TO THE COURT OF
VS. FEDERAL CLAIMS
SHELL OIL COMPANY, et al., Date:
ime:
Defendants. Courtroom: Honorable Robert
J. Kelleher (Roybal 1439)

 

 

On December 14, 2004, this Court granted the United States’ Motion to
Dismiss the Contract-Based Counterclaims Due to Lack of Subject Matter
Jurisdiction with direction that such claims be brought in the Court of Federal
Claims pursuant to 28 U.S.C. Section 1631. On December 29, 2004, Defendants
Shell Oil Company, Union Oil Company of California, Atlantic Richfield
Company, and Texaco Inc. filed Defendants’ Motion for Clarification of the Order
Granting the United States’ Motion to Dismiss. On January 14, 2005, the Court
granted Defendants’ motion and directed counsel to lodge a proposed order. A
proposed order was submitted and the Court entered the Order to Transfer to Court
of Federal Claims (“Transfer Order”) on March 17, 2005. Counsel subsequently

submitted this [Proposed] Amended Order to Transfer Certain Counterclaims to the

[PROPOSED] AMENDED ORDER TO
TRANSFER CERTAIN COUNTER-CLAIMS
TO THE COURT CV 910589 RIK

 

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Court of Federal Claims, which is intended to supersede the Court’s Transfer Order
of March 17, 2005. I

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IT IS HEREBY ORDERED: =

1. The Ninth Counterclaim for Breach of Contract for Response Costs
Incurred, and the Twelfth Counterclaim for Declaratory Judgment for Declaratory ,
Relief in so far as it relates to contract, filed by Defendants and Counterclaimants
Shell Oil Company, Union Oil Company of California, Atlantic Richfield
Company, and Texaco Inc. (“Oil Companies”) against the United States, are
transferred to the Court of Federal Claims pursuant to 28 U.S.C. Section 1631.

2. All remaining counterclaims filed by the Oil Companies against the
United States not heretofore disposed of are dismissed.

3. This Court retains jurisdiction over outstanding consent decrees and
claims for cost recovery not yet adjudicated in this action based upon the Complaint
of Plaintiff United States and Plaintiff State of California against the Oil
Companies, as set forth in the Final Judgment Pursuant to Rule 54(b) FRCP entered
in this case on October 13, 1999. The consent decrees include: (i) the Partial
Consent Decree Among Plaintiffs and Oil Company Defendants Regarding Certain
Cost Claims and Order, entered on December 12, 1994, which includes the
Plaintiffs’ claims for Ongoing Response Costs as set forth in paragraph 10 thereof;
and (ii) the First Amended Consent Decree Among Government Plaintiffs and
Defendant McAuley LCX Corporation, etc., entered on January 16, 1997.
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[PROPOSED] AMENDED ORDER TO
1085551.1 -2- TRANSFER CERTAIN COUNTER-CLAIMS
TO THE COURT CV 910589 RJK

 
 

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‘ 4. The Clerk is directed to send a certified copy of this Order, together

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with the record of the Oil Companies’ counterclaims against the United States iin
this case, to the Clerk of the Court of Federal Claims. The United States and the
Oil Companies shall provide to the Clerk a list of the documents required by the
Court of Federal Claims.

DATED: Aor | + 3005

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Robert J: er
United States District Judge

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[PROPOSED] AMENDED ORDER TO
10855511 -3- TRANSFER CERTAIN COUNTER-CLAIMS
TO THE COURT CV 910589 RIK

 

 
 

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1 PROOF OF SERVICE BY MAIL
2 I am employed tn the County of Los Angeles, State of California. i am
3 | over the age of 18 and not a party to the within action. My business address is 355
4 | South Grand Avenue, Thirty-Fifth Floor, Los Angeles, California 90071-1 560°
5 On March 28, 2005, I served the foregoing document described as
6 | [PROPOSED] AMENDED ORDER TO TRANSFER CERTAIN COUNTER-

: 7 | CLAIMS TO THE COURT OF FEDERAL CLAIMS on the interested parties in
8 ] this action by placing a true copy thereof enclosed in a sealed envelope addressed
9 | as follows:

10 SEE ATTACHED SERVICE LIST

I declare that I am employed in the office of a member of the bar of

this court at whose direction the service was made.

Executed on March 28, 2005, at Los fo ef, California.

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USA, et al. v. Shell Oil Company, et al.
Case No. CIV 91 0589 RJK

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